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                                                                 06/03/2022
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 9

10                          UNITED STATES DISTRICT COURT

11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. 8:22-cr-00075-JWH

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             GURCHARAN SINGH
14                   v.

15   GURCHARAN SINGH,

16             Defendant.

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18        1.    This constitutes the plea agreement between GURCHARAN SINGH
19   (“defendant”) and the United States Attorney’s Office for the Central
20   District of California (“the USAO”) in the above-captioned case.
21   This agreement is limited to the USAO and cannot bind any other
22   federal, state, local, or foreign prosecuting, enforcement,
23   administrative, or regulatory authorities.
24                             DEFENDANT’S OBLIGATIONS
25        2.    Defendant agrees to:
26              a.   Give up the right to indictment by a grand jury and,
27   at the earliest opportunity requested by the USAO and provided by the
28   Court, appear and plead guilty to an information charging defendant
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 1   with two counts of making a false statement in a tax return, in

 2   violation of 26 U.S.C. § 7206(1).

 3              b.   Not contest facts agreed to in this agreement.

 4              c.   Abide by all agreements regarding sentencing contained

 5   in this agreement.

 6              d.   Appear for all court appearances, surrender as ordered

 7   for service of sentence, obey all conditions of any bond, and obey

 8   any other ongoing court order in this matter.

 9              e.   Not commit any crime or any act constituting

10   obstruction of justice; however, offenses that would be excluded for

11   sentencing purposes under United States Sentencing Guidelines

12   (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not within the

13   scope of this agreement.

14              f.   Pay the applicable special assessments at or before

15   the time of sentencing unless defendant has demonstrated a lack of

16   ability to pay such assessments.

17              g.   Make restitution to the United States (Internal

18   Revenue Service):

19                   i.    Restitution is due and payable immediately after

20   the judgment is entered and is subject to immediate enforcement, in

21   full, by the United States.      If the Court imposes a schedule of

22   payments, defendant agrees that the schedule of payments is a

23   schedule of the minimum payment due, and that the payment schedule

24   does not prohibit or limit the methods by which the United States may

25   immediately enforce the judgment in full.        The IRS will use the

26   amount of restitution ordered as the basis for a civil assessment

27   under 26 U.S.C. § 6201(a)(4).      Defendant does not have the right to

28   challenge the amount of this restitution-based assessment. See 26
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 1   U.S.C. § 6201(a)(4)(C).     Neither the existence of a restitution

 2   payment schedule nor defendant's timely payment of restitution

 3   according to that schedule will preclude the IRS from immediately

 4   collecting the full amount of the restitution-based assessment.

 5                   ii.   Defendant agrees to send all payments made

 6   pursuant to the Court's restitution order to the following address:

 7   Clerk, United States District Court, Fiscal Department, 255 East

 8   Temple Street, Room 1178, Los Angeles, California 90012.

 9                   iii. With each payment to the Clerk of the Court made

10   pursuant to the District Court's restitution order, defendant will

11   provide the following information: (1) Defendant's name and Social

12   Security number; (2) The District Court and the docket number

13   assigned to this case; (3) Tax year(s) or period(s) for which

14   restitution has been ordered; and (4) A statement that the payment is

15   being submitted pursuant to the District Court's restitution order.

16   Defendant agrees to include a request that the Clerk of the Court

17   send the information, along with Defendant's payments, to the IRS

18   address below: IRS - RACS Attn: Mail Stop 6261, Restitution 333 W.

19   Pershing Ave. Kansas City, MO 64108.

20                   iv.   Defendant also agrees to send a notice of any

21   payments made pursuant to this agreement, including the information

22   listed in the previous paragraph, to the IRS at the following

23   address: - 27 - IRS - RACS Attn: Mail Stop 6261, Restitution 333 W.

24   Pershing Ave. Kansas City, MO 64108.

25              h.   Defendant admits that defendant received a total of

26   $6,352,795 in unreported income for 2017 and 2018.          Defendant agrees

27   that:

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 1                     i.    Defendant will file, prior to the time of

 2   sentencing, amended returns for the years subject to the above

 3   admissions, correctly reporting the $6,352,795 in unreported income;

 4   will, if requested to do so by the Internal Revenue Service, provide

 5   the Internal Revenue Service with information regarding the years

 6   covered by the returns; will pay to the Fiscal Clerk of the Court at

 7   or before sentencing all additional taxes and all penalties and

 8   interest assessed by the Internal Revenue Service on the basis of the

 9   returns; and will promptly pay to the Fiscal Clerk of the Court all

10   additional taxes and all penalties and interest thereafter determined

11   by the Internal Revenue Service to be owing as a result of any

12   computational error(s).

13                     ii.   Nothing in this agreement forecloses or limits

14   the ability of the Internal Revenue Service to examine and make

15   adjustments to defendant’s returns after they are filed.

16                     iii. Defendant will not, after filing the returns,

17   file any claim for refund of taxes, penalties, or interest for

18   amounts attributable to the returns filed in connection with this

19   plea agreement.

20                     iv.   Defendant is liable for the fraud penalty imposed

21   by the Internal Revenue Code, 26 U.S.C. § 6663, on the understatement

22   of tax liability for 2017 and 2018.

23                     v.    Defendant gives up any and all objections that

24   could be asserted to the Examination Division of the Internal Revenue

25   Service receiving materials or information obtained during the

26   criminal investigation of this matter, including materials and

27   information obtained through grand jury subpoenas.

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 1                   vi.   Defendant will sign closing agreements with the

 2   Internal Revenue Service contemporaneously with the signing of this

 3   plea agreement, permitting the Internal Revenue Service to assess and
 4   collect the total sum of $2,569,636 for the defendant's tax years

 5   2017 and 2018, which comprises the tax liabilities, as well as assess

 6   and collect the civil fraud penalties for defendant’s tax years 2017

 7   and 2018 and statutory interest, on the tax liabilities, as provided

 8   by law.

 9             i.    Be truthful at all times with the United States

10   Probation and Pretrial Services Office and the Court.

11        3.   Defendant further agrees to cooperate fully with the USAO,

12   the United States Attorney’s Office for the District of Utah, the

13   Internal Revenue Service Criminal Investigation Division, the United

14   States Department of Justice Tax Division and Money Laundering and

15   Asset Recovery Section, the Federal Bureau of Investigation, and, as

16   directed by the USAO, any other federal, state, local, or foreign

17   prosecuting, enforcement, administrative, or regulatory authority.

18   This cooperation requires defendant to:

19             a.    Respond truthfully and completely to all questions

20   that may be put to defendant, whether in interviews, before a grand

21   jury, or at any trial or other court proceeding.

22             b.    Attend all meetings, grand jury sessions, trials or

23   other proceedings at which defendant’s presence is requested by the

24   USAO or compelled by subpoena or court order.

25             c.    Produce voluntarily all documents, records, or other

26   tangible evidence relating to matters about which the USAO, or its

27   designee, inquires.

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 1        4.   For purposes of this agreement: (1) “Cooperation

 2   Information” shall mean any statements made, or documents, records,

 3   tangible evidence, or other information provided, by defendant

 4   pursuant to defendant’s cooperation under this agreement; and

 5   (2) “Plea Information” shall mean any statements made by defendant,

 6   under oath, at the guilty plea hearing and the agreed to factual

 7   basis statement in this agreement.

 8                             THE USAO’S OBLIGATIONS

 9        5.   The USAO agrees to:
10             a.    Not contest facts agreed to in this agreement.
11             b.    Abide by all agreements regarding sentencing contained
12   in this agreement.
13             c.    At the time of sentencing, provided that defendant
14   demonstrates an acceptance of responsibility for the offenses up to
15   and including the time of sentencing, recommend a two-level reduction
16   in the applicable Sentencing Guidelines offense level, pursuant to
17   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
18   additional one-level reduction if available under that section.
19             d.    Recommend that defendant be sentenced to a term of
20   imprisonment no higher than the low end of the applicable Sentencing
21   Guidelines range, provided that the offense level used by the Court
22   is 19 or higher, and provided that the Court does not depart downward
23   in offense level or in criminal history category.         For purposes of
24   this agreement, the low end of the Sentencing Guidelines range is
25   that defined by the Sentencing Table in U.S.S.G. Chapter 5, Part A,
26   without regard to reductions in the term of imprisonment that may be
27   permissible through the substitution of community confinement or home
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 1   detention as a result of the offense level falling within Zone B or

 2   Zone C of the Sentencing Table.

 3        6.   The USAO further agrees:

 4             a.    Not to offer as evidence in its case-in-chief in the

 5   above-captioned case or any other criminal prosecution that may be

 6   brought against defendant by the USAO, or in connection with any

 7   sentencing proceeding in any criminal case that may be brought

 8   against defendant by the USAO, any Cooperation Information.

 9   Defendant agrees, however, that the USAO may use both Cooperation

10   Information and Plea Information: (1) to obtain and pursue leads to

11   other evidence, which evidence may be used for any purpose, including

12   any criminal prosecution of defendant; (2) to cross-examine defendant

13   should defendant testify, or to rebut any evidence offered, or

14   argument or representation made, by defendant, defendant’s counsel,

15   or a witness called by defendant in any trial, sentencing hearing, or

16   other court proceeding; and (3) in any criminal prosecution of

17   defendant for false statement, obstruction of justice, or perjury.

18             b.    Not to use Cooperation Information against defendant

19   at sentencing for the purpose of determining the applicable guideline

20   range, including the appropriateness of an upward departure, or the

21   sentence to be imposed, and to recommend to the Court that

22   Cooperation Information not be used in determining the applicable

23   guideline range or the sentence to be imposed.         Defendant

24   understands, however, that Cooperation Information will be disclosed

25   to the United States Probation and Pretrial Services Office and the

26   Court, and that the Court may use Cooperation Information for the

27   purposes set forth in U.S.S.G § 1B1.8(b) and for determining the

28   sentence to be imposed.
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 1             c.    In connection with defendant’s sentencing, to bring to

 2   the Court’s attention the nature and extent of defendant’s

 3   cooperation.

 4             d.    If the USAO determines, in its exclusive judgment,

 5   that defendant has both complied with defendant’s obligations under

 6   paragraphs 2 and 3 above and provided substantial assistance to law

 7   enforcement in the prosecution or investigation of another

 8   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

 9   § 5K1.1 to fix an offense level and corresponding guideline range

10   below that otherwise dictated by the sentencing guidelines, and to

11   recommend a term of imprisonment within this reduced range.

12              DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

13        7.   Defendant understands the following:
14             a.    Any knowingly false or misleading statement by
15   defendant will subject defendant to prosecution for false statement,
16   obstruction of justice, and perjury and will constitute a breach by
17   defendant of this agreement.
18             b.    Nothing in this agreement requires the USAO or any
19   other prosecuting, enforcement, administrative, or regulatory
20   authority to accept any cooperation or assistance that defendant may
21   offer, or to use it in any particular way.
22             c.    Defendant cannot withdraw defendant’s guilty pleas if
23   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a
24   reduced guideline range or if the USAO makes such a motion and the
25   Court does not grant it or if the Court grants such a USAO motion but
26   elects to sentence above the reduced range.
27             d.    At this time the USAO makes no agreement or
28   representation as to whether any cooperation that defendant has
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 1   provided or intends to provide constitutes or will constitute

 2   substantial assistance.     The decision whether defendant has provided

 3   substantial assistance will rest solely within the exclusive judgment

 4   of the USAO.

 5                e.   The USAO’s determination whether defendant has

 6   provided substantial assistance will not depend in any way on whether

 7   the government prevails at any trial or court hearing in which

 8   defendant testifies or in which the government otherwise presents

 9   information resulting from defendant’s cooperation.

10                             NATURE OF THE OFFENSES

11        8.      Defendant understands that for defendant to be guilty of
12   making a false statement in a tax return in violation of Title 26,
13   United States Code, Section 7206(1), the following must be true: (1)
14   defendant made and signed a tax return that he knew contained false
15   information as to a material matter; (2) the return contained a
16   written declaration that it was being signed subject to the penalties
17   of perjury; and (3) in filing the false tax return, defendant acted
18   willfully.
19                            PENALTIES AND RESTITUTION
20        9.      Defendant understands that the statutory maximum sentence
21   that the Court can impose for a violation of Title 26, United States
22   Code, Section 7206(1) is: 3 years of imprisonment; a fine of $250,000
23   or twice the gross gain or gross loss resulting from the offense,
24   whichever is greatest; a 3-year period of supervised release; a
25   mandatory special assessment of $100; and a mandatory order of
26   restitution to the United States.
27        10.     Defendant understands, therefore, that the total maximum
28   sentence for all offenses to which defendant is pleading guilty is:
                                          9
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 1   6 years of imprisonment; a 3-year period of supervised release; a

 2   fine of $500,000 or twice the gross gain or gross loss resulting from

 3   the offenses, whichever is greatest; and a mandatory special

 4   assessment of $200.

 5        11.   Defendant understands that supervised release is a period

 6   of time following imprisonment during which defendant will be subject

 7   to various restrictions and requirements.        Defendant understands that

 8   if defendant violates one or more of the conditions of any supervised

 9   release imposed, defendant may be returned to prison for all or part

10   of the term of supervised release authorized by statute for the

11   offense that resulted in the term of supervised release, which could

12   result in defendant serving a total term of imprisonment greater than

13   the statutory maximum stated above.

14        12.   Defendant understands that the Court may order defendant to

15   pay restitution as a condition of supervised release or probation to

16   the United States (Internal Revenue Service) in the form of any

17   additional taxes, interest, and penalties that defendant owes to the

18   United States as provided above.

19        13.   Defendant agrees that the amount of restitution in this

20   case, which defendant agrees that the Court may order him to pay to

21   the United States (Internal Revenue Service), is $2,569,636.

22        14.   Defendant will not seek the discharge of any restitution

23   obligation, in whole or in part, in any present or future bankruptcy

24   proceeding.   Defendant further understands that if the Court orders

25   the defendant to pay restitution to the IRS for tax losses, either

26   directly as a part of the sentence or as a condition of supervised

27   release, the IRS has the statutory right (26 USC § 6201(a)(4)) to use

28   such restitution order as the basis for a civil assessment and the
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 1   defendant does not have the right to challenge such civil assessment

 2   or civil collection of such assessment by the IRS.

 3        15.   Defendant understands that, by pleading guilty, defendant

 4   may be giving up valuable government benefits and valuable civic

 5   rights, such as the right to vote, the right to possess a firearm,

 6   the right to hold office, and the right to serve on a jury.

 7   Defendant understands that he is pleading guilty to a felony and that

 8   it is a federal crime for a convicted felon to possess a firearm or

 9   ammunition.   Defendant understands that the convictions in this case

10   may also subject defendant to various other collateral consequences,

11   including but not limited to revocation of probation, parole, or

12   supervised release in another case and suspension or revocation of a

13   professional license.     Defendant understands that unanticipated

14   collateral consequences will not serve as grounds to withdraw

15   defendant’s guilty pleas.

16        16.   Defendant understands that, if defendant is not a United

17   States citizen, the felony convictions in this case may subject

18   defendant to: removal, also known as deportation, which may, under

19   some circumstances, be mandatory; denial of citizenship; and denial

20   of admission to the United States in the future.         The Court cannot,

21   and defendant’s attorney also may not be able to, advise defendant

22   fully regarding the immigration consequences of the felony

23   convictions in this case.      Defendant understands that unexpected

24   immigration consequences will not serve as grounds to withdraw

25   defendant’s guilty pleas.

26                                   FACTUAL BASIS

27        17.   Defendant admits that defendant is, in fact, guilty of the
28   offenses to which defendant is agreeing to plead guilty.           Defendant
                                          11
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 1   and the USAO agree to the statement of facts provided below and agree

 2   that this statement of facts is sufficient to support pleas of guilty

 3   to the charges described in this agreement and to establish the

 4   Sentencing Guidelines factors set forth in paragraph 19 below but is

 5   not meant to be a complete recitation of all facts relevant to the

 6   underlying criminal conduct or all facts known to either party that

 7   relate to that conduct.

 8        For the tax year 2017, defendant subscribed to a false tax

 9   return by failing to report $3,856,456 in income that he had

10   received, resulting in defendant failing to pay a total of $1,612,534

11   in taxes due and owing.

12        Specifically, on or about September 7, 2018, in Orange County,

13   within the Central District of California, defendant signed a U.S.

14   Individual Income Tax Return (“Form 1040”) for the calendar year

15   2017, which was verified under penalty of perjury to be true and

16   correct, and defendant then caused that tax return to be

17   electronically filed with the IRS.        In this return, defendant stated

18   on Line 22 that his total income was $44,865.

19        Defendant willfully and intentionally omitted that in the 2017

20   calendar year, he received income from Globus Relief Fund, which

21   income was deposited to a bank account in the name of Mickle Group

22   Ltd. that defendant controlled, in the amount of $3,856,456.

23   Accordingly, when defendant signed his 2017 tax return, defendant

24   knew it contained false information as to a material matter, as

25   defendant under-reported his income from 2017 by $3,856,456,

26   resulting in $1,612,534 in additional taxes due and owing.

27        For the tax year 2018, defendant subscribed to a false tax

28   return by failing to report $2,496,339 in income that he had
                                          12
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 1   received, resulting in defendant failing to pay a total of $957,102

 2   in taxes due and owing.

 3        Specifically, on or about October 14, 2019, in Orange County,

 4   within the Central District of California, defendant signed a Form

 5   1040 for the calendar year 2018, which was verified under penalty of

 6   perjury to be true and correct, and defendant then caused that tax

 7   return to be electronically filed with the IRS.         In this return,

 8   defendant stated on Line 6 that his total income was $59,856.

 9        Defendant willfully and intentionally omitted that in the 2018

10   calendar year, he received income from Globus Relief Fund, which

11   income was deposited to a bank account in the name of Mickle Group

12   Ltd. that defendant controlled, in the amount of $2,496,339.

13   Accordingly, when defendant signed his 2018 tax return, defendant

14   knew it contained false information as to a material matter, as

15   defendant under-reported his income from 2018 by $2,496,339,

16   resulting in $957,102 in additional taxes due and owing.

17        In total, for the tax years 2017 and 2018, defendant under-

18   reported his income by $6,352,795, resulting in $2,569,636 in

19   additional taxes due and owing.

20                                SENTENCING FACTORS

21        18.   Defendant understands that in determining defendant’s
22   sentence the Court is required to calculate the applicable Sentencing
23   Guidelines range and to consider that range, possible departures
24   under the Sentencing Guidelines, and the other sentencing factors set
25   forth in 18 U.S.C. § 3553(a).      Defendant understands that the
26   Sentencing Guidelines are advisory only, that defendant cannot have
27   any expectation of receiving a sentence within the calculated
28   Sentencing Guidelines range, and that after considering the
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 1   Sentencing Guidelines and the other § 3553(a) factors, the Court will

 2   be free to exercise its discretion to impose any sentence it finds

 3   appropriate up to the maximum set by statute for the crimes of

 4   conviction.

 5        19.   Defendant and the USAO agree to the following applicable

 6   Sentencing Guidelines factors:

 7        Base Offense Level:         22    [U.S.S.G. §§ 2T1.1(a)(1), 2T4.1(I)]

 8   Defendant and the USAO reserve the right to argue that additional
 9   specific offense characteristics, adjustments, and departures under
10   the Sentencing Guidelines are appropriate.
11        20.   Defendant understands that there is no agreement as to
12   defendant’s criminal history or criminal history category.
13        21.   Defendant and the USAO reserve the right to argue for a
14   sentence outside the sentencing range established by the Sentencing
15   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
16   (a)(2), (a)(3), (a)(6), and (a)(7).
17                        WAIVER OF CONSTITUTIONAL RIGHTS
18        22.   Defendant understands that by pleading guilty, defendant
19   gives up the following rights:
20              a.    The right to persist in a plea of not guilty.
21              b.    The right to a speedy and public trial by jury.
22              c.    The right to be represented by counsel – and if
23   necessary have the Court appoint counsel - at trial.          Defendant
24   understands, however, that, defendant retains the right to be
25   represented by counsel – and if necessary have the Court appoint
26   counsel – at every other stage of the proceeding.
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 1              d.    The right to be presumed innocent and to have the

 2   burden of proof placed on the government to prove defendant guilty

 3   beyond a reasonable doubt.

 4              e.    The right to confront and cross-examine witnesses

 5   against defendant.

 6              f.    The right to testify and to present evidence in

 7   opposition to the charges, including the right to compel the

 8   attendance of witnesses to testify.

 9              g.    The right not to be compelled to testify, and, if

10   defendant chose not to testify or present evidence, to have that

11   choice not be used against defendant.

12              h.    Any and all rights to pursue any affirmative defenses,

13   Fourth Amendment or Fifth Amendment claims, and other pretrial

14   motions that have been filed or could be filed.

15                         WAIVER OF APPEAL OF CONVICTION

16        23.   Defendant understands that, with the exception of an appeal
17   based on a claim that defendant’s guilty pleas were involuntary, by
18   pleading guilty defendant is waiving and giving up any right to
19   appeal defendant’s convictions on the offenses to which defendant is
20   pleading guilty.    Defendant understands that this waiver includes,
21   but is not limited to, arguments that the statute to which defendant
22   is pleading guilty is unconstitutional, and any and all claims that
23   the statement of facts provided herein is insufficient to support
24   defendant’s pleas of guilty.
25                   LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
26        24.   Defendant gives up the right to appeal all of the
27   following: (a) the procedures and calculations used to determine and
28   impose any portion of the sentence; (b) the term of imprisonment
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 1   imposed by the Court, provided it is no more than the high end of the

 2   Sentencing Guidelines range calculated by the Court; (c) the fine

 3   imposed by the Court, provided it is within the statutory maximum;

 4   (d) to the extent permitted by law, the constitutionality or legality

 5   of defendant’s sentence, provided it is within the statutory maximum;

 6   (e) the amount and terms of any restitution order, provided it

 7   requires payment of no more than $2,569,636; (f) the term of

 8   probation or supervised release imposed by the Court, provided it is

 9   within the statutory maximum; and (g) any of the following conditions

10   of probation or supervised release imposed by the Court: the

11   conditions set forth in Second Amended General Order 20-04 of this

12   Court; the drug testing conditions mandated by 18 U.S.C. §§

13   3563(a)(5) and 3583(d); and the alcohol and drug use conditions

14   authorized by 18 U.S.C. § 3563(b)(7).

15        25.   Defendant also gives up any right to bring a post-

16   conviction collateral attack on the convictions or sentence,

17   including any order of restitution, except a post-conviction

18   collateral attack based on a claim of ineffective assistance of

19   counsel or an explicitly retroactive change in the applicable

20   Sentencing Guidelines, sentencing statutes, or statutes of

21   conviction. Defendant understands that this waiver includes, but is

22   not limited to, arguments that the statute to which defendant is

23   pleading guilty is unconstitutional, that newly discovered evidence

24   purportedly supports defendant’s innocence, and any and all claims

25   that the statement of facts provided herein is insufficient to

26   support defendant’s plea of guilty.

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 1        26.   The USAO agrees that, provided (a) all portions of the

 2   sentence are at or below the statutory maximum specified above, the

 3   USAO gives up its right to appeal any portion of the sentence.

 4                      RESULT OF WITHDRAWAL OF GUILTY PLEA

 5        27.   Defendant agrees that if, after entering guilty pleas
 6   pursuant to this agreement, defendant seeks to withdraw and succeeds
 7   in withdrawing defendant’s guilty pleas on any basis other than a
 8   claim and finding that entry into this plea agreement was
 9   involuntary, then (a) the USAO will be relieved of all of its
10   obligations under this agreement, including in particular its
11   obligations regarding the use of Cooperation Information; and (b) in
12   any investigation, criminal prosecution, or civil, administrative, or
13   regulatory action, defendant agrees that any Cooperation Information
14   and any evidence derived from any Cooperation Information shall be
15   admissible against defendant, and defendant will not assert, and
16   hereby waives and gives up, any claim under the United States
17   Constitution, any statute, or any federal rule, that any Cooperation
18   Information or any evidence derived from any Cooperation Information
19   should be suppressed or is inadmissible.
20                           EFFECTIVE DATE OF AGREEMENT
21        28.   This agreement is effective upon signature and execution of
22   all required certifications by defendant, defendant’s counsel, and an
23   Assistant United States Attorney.         Defendant understands that this
24   agreement is contingent upon the approval of the Tax Division of the
25   United States Department of Justice, and that an Assistant United
26   States Attorney may not sign it unless and until such approval is
27   granted.
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 1                                BREACH OF AGREEMENT

 2        29.   Defendant agrees that if defendant, at any time after the

 3   signature of this agreement and execution of all required

 4   certifications by defendant, defendant’s counsel, and an Assistant

 5   United States Attorney, knowingly violates or fails to perform any of

 6   defendant’s obligations under this agreement (“a breach”), the USAO

 7   may declare this agreement breached.       For example, if defendant

 8   knowingly, in an interview, before a grand jury, or at trial, falsely

 9   accuses another person of criminal conduct or falsely minimizes

10   defendant’s own role, or the role of another, in criminal conduct,

11   defendant will have breached this agreement.         All of defendant’s

12   obligations are material, a single breach of this agreement is

13   sufficient for the USAO to declare a breach, and defendant shall not

14   be deemed to have cured a breach without the express agreement of the

15   USAO in writing.    If the USAO declares this agreement breached, and

16   the Court finds such a breach to have occurred, then:

17              a.    If defendant has previously entered guilty pleas

18   pursuant to this agreement, defendant will not be able to withdraw

19   the guilty pleas.

20              b.    The USAO will be relieved of all its obligations under

21   this agreement; in particular, the USAO: (i) will no longer be bound

22   by any agreements concerning sentencing and will be free to seek any

23   sentence up to the statutory maximum for the crimes to which

24   defendant has pleaded guilty; and (ii) will no longer be bound by any

25   agreement regarding the use of Cooperation Information and will be

26   free to use any Cooperation Information in any way in any

27   investigation, criminal prosecution, or civil, administrative, or

28   regulatory action.
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 1              c.    The USAO will be free to criminally prosecute

 2   defendant for false statement, obstruction of justice, and perjury

 3   based on any knowingly false or misleading statement by defendant.

 4              d.    In any investigation, criminal prosecution, or civil,

 5   administrative, or regulatory action: (i) defendant will not assert,

 6   and hereby waives and gives up, any claim that any Cooperation

 7   Information was obtained in violation of the Fifth Amendment

 8   privilege against compelled self-incrimination; and (ii) defendant

 9   agrees that any Cooperation Information and any Plea Information, as

10   well as any evidence derived from any Cooperation Information or any

11   Plea Information, shall be admissible against defendant, and

12   defendant will not assert, and hereby waives and gives up, any claim

13   under the United States Constitution, any statute, Rule 410 of the

14   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

15   Criminal Procedure, or any other federal rule, that any Cooperation

16   Information, any Plea Information, or any evidence derived from any

17   Cooperation Information or any Plea Information should be suppressed

18   or is inadmissible.

19          COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

20                                OFFICE NOT PARTIES
21        30.   Defendant understands that the Court and the United States
22   Probation and Pretrial Services Office are not parties to this
23   agreement and need not accept any of the USAO’s sentencing
24   recommendations or the parties’ agreements to facts or sentencing
25   factors.
26        31.   Defendant understands that both defendant and the USAO are
27   free to: (a) supplement the facts by supplying relevant information
28   to the United States Probation and Pretrial Services Office and the
                                          19
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 1   Court, (b) correct any and all factual misstatements relating to the

 2   Court’s Sentencing Guidelines calculations and determination of

 3   sentence, and (c) argue on appeal and collateral review that the

 4   Court’s Sentencing Guidelines calculations and the sentence it

 5   chooses to impose are not error, although each party agrees to

 6   maintain its view that the calculations in paragraph 19 are

 7   consistent with the facts of this case.        While this paragraph permits

 8   both the USAO and defendant to submit full and complete factual

 9   information to the United States Probation and Pretrial Services

10   Office and the Court, even if that factual information may be viewed

11   as inconsistent with the facts agreed to in this agreement, this

12   paragraph does not affect defendant’s and the USAO’s obligations not

13   to contest the facts agreed to in this agreement.

14        32.   Defendant understands that even if the Court ignores any

15   sentencing recommendation, finds facts or reaches conclusions

16   different from those agreed to, and/or imposes any sentence up to the

17   maximum established by statute, defendant cannot, for that reason,

18   withdraw defendant’s guilty pleas, and defendant will remain bound to

19   fulfill all defendant’s obligations under this agreement.           Defendant

20   understands that no one –- not the prosecutor, defendant’s attorney,

21   or the Court –- can make a binding prediction or promise regarding

22   the sentence defendant will receive, except that it will be within

23   the statutory maximum.

24                             NO ADDITIONAL AGREEMENTS

25        33.   Defendant understands that, except as set forth herein,
26   there are no promises, understandings, or agreements between the USAO
27   and defendant or defendant’s attorney, and that no additional
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